                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:02-CR-190-MU

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )
                                              )
HECTOR RUBIN MCGURK,                          )                      ORDER
                                              )
               Defendant.                     )
                                              )
                                              )

       THIS MATTER comes before the Court on its own motion. After consulting with the Clerk

of Court, it appears that Defendant’s Motion for Extension of Time to File Objections to Presentence

Report and for Continuance, granted by this Court on March 23, 2006, should have been referred to

Judge Cacheris rather than appearing before the undersigned. Thus, the order granting that motion

is VACATED, and the motion is referred to Judge Cacheris for determination.

       IT IS SO ORDERED.

                                                  Signed: March 24, 2006




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